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 4
                                  UNITED STATES DISTRICT COURT
 5
                                          DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                 )
 8                                             )
                       Plaintiff,              )                  Case No. 2:13-cr-00149-KJD-CWH
 9                                             )
     vs.                                       )                  ORDER
10                                             )
     DERRICK YOUNG, et al.,                    )
11                                             )
                       Defendants.             )
12   __________________________________________)
13          This matter is before the Court on Defendant Thomas Lewis’ (“Defendant Lewis”) Motion
14   to Suppress (#26), filed on September 9, 2013, and the Government’s Response (#28), filed on
15   September 23, 2013. The Court conducted an evidentiary hearing on October 21, 2013 and
16   October 22, 2013. On December 11, 2013, the Court ordered that the evidentiary hearing be
17   reopened for the limited purpose of determining what evidence was obtained after Defendant
18   Lewis’ detention and how the evidence was obtained. See Order #38. Counsel for both parties
19   contacted the chambers of the undersigned on January 7, 2014 to represent that no other evidence
20   needs to be presented. Accordingly, the Court will vacate the supplemental evidentiary hearing.
21   Additionally, the Court will require the parties to submit a stipulation, or supplemental
22   memorandums if unable to agree, within seven days of this order on the following issues:
23          (1)     Specify any and all evidence Defendant Lewis is seeking to suppress in Motion #26
24                  along with when and how it was collected.
25          (2)     Specify when and how Defendant Lewis’ Miranda rights were administered and
26                  invoked.
27          Based on the foregoing and good cause appearing therefore,
28          IT IS HEREBY ORDERED that the supplemental evidentiary hearing set for January 15,
     2014 at 9:00 a.m. is vacated.
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 1          IT IS FURTHER ORDERED that the parties shall submit a stipulation, or separate
 2   supplemental memorandums if unable to agree, by close of business on January 14, 2014 that
 3   address the two issues identified above.
 4          DATED this 7th day of January, 2014.
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                                                   ______________________________________
 7                                                 C.W. Hoffman, Jr.
                                                   United States Magistrate Judge
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